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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL



 Case No.: ED CV 16-01128-AB (SPx)                                Date:   February 28, 2018


 Title:     Dominic Archibald,et al. v. County of San Bernardino, et al.


 Present: The Honorable          ANDRÉ BIROTTE JR., United States District Judge
                Carla Badirian                                           N/A
                Deputy Clerk                                        Court Reporter

          Attorneys Present for Plaintiffs:                Attorneys Present for Defendants:
                 None Appearing                                    None Appearing

 Proceedings:            [In Chambers] ORDER RE: MOTIONS IN LIMINE

     On February 16, 2018, the Court heard oral argument on the parties Motions in
Liming (“MIL”). The Court rules as follows.

    A. Plaintiffs’ MIL 3, Defendants’ MIL 7

       These motions concern admissibility (1) of evidence that Nathanael had alcohol and
cannabinoids “in his system” during the incident, and (2) Nathanael’s drug/alcohol history.
Plaintiffs want to exclude this evidence, and Defendants want to admit it.

      Evidence that Nathanael had alcohol and cannabinoids in his system is
EXCLUDED. Nathanael’s toxicology report stated that he had a small amount of ethyl
alcohol in his urine, but none in his blood, and that there were some cannabinoid
metabolites in his system. See Scott McCormick Depo. (Dkt. No. 97-2) (medical
examiner testifying as to results of toxicology report). Defendants want to admit this
evidence for two reasons. First, to show why Nathanael was acting “violent and

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irrational”: the “trier-of-fact has the right to weight and balance” this evidence and to
decide “whether the cannabinoids and alcohol contributed to his conduct and behavior on
the night of the incident.” See Dkt. No. 97 5:17-21. Second, to support Woods’s claimed
reasonable suspicion that Nathanael was on methamphetamines. This evidence is
excluded as irrelevant and more prejudicial than probative. Defendants’ intended uses of
this evidence amount to suggesting that Nathanael was under the influence of a substance,
but Defendants have proffered no evidence whatsoever—such as an expert report—that the
amounts of alcohol and cannabinoids in his system could have affected his behavior or
caused him to be under the influence. As Dr. McCormick himself testified as to the
cannabinoids, what their effect might have been on Nathanael’s behavior would be purely
speculative. See McCormick Depo. 51:12-23 (there were marijuana metabolites in his
system, but “I couldn’t really tell you what – necessarily what the effect that might have on
him,” Q: “That would be pure speculation, right?” A: “In this case, yes.”) The Court
cannot permit Defendants to invite the jury to engage in such speculation. Similarly, in
the absence of evidence that the amounts in Nathanael’s system affected his behavior, the
toxicology report does not lend any credibility to Woods’s claim that he believed
Nathanael was on methamphetamines (or some other substance). Simply stated, that
Nathanael had alcohol and cannabinoids in his system does not make it more or less
probable that he was under the influence or that Woods’s claimed reasonable suspicion was
adequately supported.

       At oral argument, defense counsel pointed to expert testimony to the effect that
Nathanael was diagnosed with schizophrenia, and that persons with that condition are
especially susceptible to the effects of drugs and alcohol, but this evidence fails for the
same reason: absent testimony that the amount in Nathanael’s system was enough to affect
his behavior—regardless of whether he was schizophrenic—the naked fact that he had
these substances in his system is not probative.

     To the extent there is some marginal relevance to this evidence, it is plainly
outweighed by the risk of undue prejudice, as it could be used to unfairly suggest
Nathanael abused drugs and/or alcohol.

       The Court reserves ruling on the admissibility of Nathanael’s drug and alcohol
history until the damages phase.

    B. Plaintiff’s Motions 1-4:

      MIL No. 1 to exclude decedent’s criminal history and prior contacts with law
enforcement. This motion is GRANTED. Defendants do not specify what Nathanael’s
criminal history is, but they argue that it “demonstrate[s] that Pickett had a habit of
obstruction and resisting an executive officer.” See Dkt. No. 113, 4:18-20. The Court

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rejects this argument. Defendants have even attempted to show that Nathanael’s criminal
history reflects his “regular response to a repeated specific situation,” and the Court has
grave skepticism that they could. See Fed. R. Evid. 406 Advisory Committee Note
(describing conduct that qualifies as habit as “semi-automatic”). Defendants present no
other basis for admitting this evidence, and the Court discerns none; furthermore, any
marginal probative value would be outweighed by risk of undue prejudice

       MIL No. 2 to exclude evidence or references to any personal issues between
plaintiffs Archibald and Nathanael Pickett, I. This motion is GRANTED as to personal
issues between Nathanael’s parents, as such matters are not relevant either to whether
Deputy Woods’s conduct was justified, or to damages. For example, Pickett’s statements
that Archibald took money from Pickett, that “my son was the only way that she could
cause me hell,” and that Archibald “carried on” with other men are excluded. Evidence
regarding each Plaintiffs’ relationship with Nathanael (such as Archibald’s statements
about taking Nathanael to the motel and Pickett not wanting Nathanael to live in one of his
properties) is not barred by this ruling, but may be admissible in the damages phase only.
The Court reserves further ruling until the damages phase.

       MIL No. 4 to exclude any evidence of County’s finding that Deputy’s use of force
was not criminal, was reasonable, justified and/or within policy. This motion is
GRANTED. Defendants want to admit the San Bernardino District Attorney’s Office’s
finding that Woods’s actions were “legally justified.” Opp’n 5:1-2. After-the-fact
opinion of the D.A.’s office is opinion evidence not admissible under either FRE 701 (lay
opinion) or FRE 702 (expert opinion). Furthermore, such evidence plainly risks usurping
the role of the jury and inviting them to give deference to County’s findings rather than
reach their own conclusions about the reasonableness of Woods’s conduct.

    C. DEFENDANTS’ MILS 1-6, 8:

    MIL’s 1, 2, 4: are GRANTED AS UNOPPOSED. They are:
     MIL No. 1 to preclude evidence of unrelated citizens’ complaints, lawsuits, internal
      affairs investigations and prior or subsequent incidents of use of force
     MIL No. 2 to preclude specific instances of conduct, and to preclude opinions and
      conclusions contained in any personnel complaint investigations
     MIL No. 4 to bifurcate punitive damages from liability.

       MIL No. 3 to limit testimony of Plaintiffs’ expert witnesses to those admissible
opinions and conclusions testified to at their depositions and exclude opinions beyond
expert’s expertise. This motion is DENIED without prejudice. This is a general MIL
not directed at any particular evidence. It is premature.


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       MIL No. 5 to preclude the use of photographs of decedent’s body at the scene of
incident, autopsy, and funeral and family photos. At oral argument, it appeared that
further meet and confer efforts could resolve whether causation is an issue, which would
make the crime scene and autopsy photos relevant to the liability phase. The Court defers
ruling on this aspect of the motion until trial. The motion is generally DENIED as to the
damages phase, because the categories of photos are relevant to that issue. Defendants
may further object a trial.

       MIL No. 6 to exclude any testimony, witnesses, documents or evidence not
disclosed or identified in discovery. Defense counsel confirmed at oral argument that this
is a general prophylactic request not aimed at particular evidence. This motion is therefore
DENIED on that basis.

        MIL No. 8 to exclude James Kennedy as a witness and/or to exclude the reading of
his deposition testimony. Defendants argue that Kennedy’s testimony is irrelevant
because he was too far away to see or hear anything (FRE 401, 402, 403). Defendants
confuse relevance and credibility. Kennedy will testify as to his own perception of the
incident; such testimony is plainly relevant. If Kennedy couldn’t adequately see or hear
the incident, that goes to his credibility. Kennedy’s credibility is for the jury to decide and
is not a basis to bar his testimony wholesale. This motion is therefore DENIED.
Defendants also say Kennedy cannot be located and has not read or signed his deposition,
so it cannot be read into evidence. If this remains an issue at trial, the Court will deal with
it then.

        IT IS SO ORDERED.




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